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                                     EXHIBIT 49
      Tehran's Secret 'Department 9000'
         newsweek.com/tehrans-secret-department-9000-101761

      By Newsweek Staff On 6/3/07 at 8:00 PM                                              June 3, 2007
      EDT

      President bush said last week he expects a "bloody" summer in Iraq. What he didn't say is
      that a growing covert war between the United States and Iran may be one reason the
      conflict is escalating. U.S. intelligence has identified the principal unit behind Tehran's
      efforts to supply Shia insurgent cells in Iraq. It is a super secret group called Department
      9000, which is part of the elite Quds Force of the Iranian Islamic Revolutionary Guard
      Corps, according to three U.S. officials familiar with intelligence reporting and analysis on
      the Iraqi insurgency who asked for anonymity when discussing sensitive material.
      Department 9000 acts as a liaison between the insurgents and the IRGC, the Iranian
      regime's principal internal-security mechanism, providing guidance and support. More
      recently, says one of the officials, these secret Iranian paramilitaries have even begun to
      help Sunni insurgent groups in order to keep the Americans bogged down. "The new
      developments with Sunni groups are more operational in nature and are more direct in
      terms of their involvement in groups attacking the Coalition," he said.

      Bush, meanwhile, has raised the stakes in the covert war himself. The president recently
      approved a secret order, or "finding," authorizing the CIA to use covert methods to harass
      —but not overthrow—Iran's theocratic regime, according to government sources familiar
      with the issue, anonymous due to the highly sensitive nature of the subject. The CIA
      operation that the president OK'd is meant as a response to what the administration sees as
      an Iranian government policy of arming Shia insurgents with ordnance designed to kill
      American troops.

      Precise details of what methods the CIA has been authorized to use to pressure Iran are
      unclear and highly classified. (A CIA spokesman said the agency never comments on
      allegations of covert action.) One former U.S. undercover operative (anonymous because of
      intel sensitivities) who has talked with current agency employees about the new CIA effort
      said that among the ideas that have been discussed are various methods for trying to
      extend the range of uncensored Internet service into Iranian border areas. According to the
      ABC News investigative unit, which first reported on the CIA operation last week, the CIA
      plan "reportedly includes a coordinated campaign of propaganda, disinformation and
      manipulation of Iran's currency and international financial transactions."

      If CIA methods are still unclear, so are the plan's objectives. The ayatollahs would not be
      easy to topple. Officials familiar with the assessments of U.S. intelligence agencies have
      told NEWSWEEK that top analysts at the CIA and other agencies do not believe that Iran is
      in a "pre revolutionary condition." And in public Senate testimony last year, the then U.S.
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      Director of National Intelligence John Negroponte said it was the consensus of U.S.
      intelligence agencies that "regime-threatening instability is unlikely" in Iran. "These kind
      of measures are not going to overthrow the regime," says Middle East expert Bruce Riedel,
      who left the CIA late last year. Riedel said that this was not the first occasion on which an
      American administration has tried to foment disruption in Iran, but that such efforts have
      always proved "ineffectual" in the past.

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      It's not known how effective Department 9000 has been on the Iranian side of the covert
      war either. "It's been difficult to quantify whether Iran is simply a catalyst in sectarian
      violence and is feeding it or whether they are directing any of it," says one of the U.S.
      officials familiar with the intelligence. "We simply don't know enough to make a call either
      way." Late last year Bush authorized U.S. forces in Iraq to crack down on the alleged IRGC-
      Quds Force connection and suspected Department 9000 operatives. Todate, said the
      official, who monitors results of the crackdown in Iraq, U.S. actions against suspected
      IRGC-QF operatives and supporters have reduced the number of IED attacks attributable
      to weapons of suspected Iranian design or origin. However, the rate of such attacks goes up
      and down, and U.S. progress is rated as "patchy," according to this official. The only thing
      certain is that it's going to be a long, hot summer.




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